                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re Beverley Jackson,                                   Case No. 08-61931
                                                          Chapter 7
                Debtor.                                   Hon. Marci B. McIvor
______________________________/

Michael Stevenson, Trustee,

                    Plaintiff,

v.                                                        Adv. Pro. No. 09-5490

Mario Genna, Kimberly Genna
Layla Genna, Sebastian Genna, and
The Law Office of Siciliano, Mychalowych,
Van Dusen and Fuel, P.C.

                Defendants.
_______________________________/


 OPINION GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND
         DENYING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

      This matter is before the Court on the parties’ Cross-Motions for Summary

Judgment. Plaintiff seeks judgment on a four-count adversary complaint to recover

alleged preferential transfers made to defendants Mario Genna, Kimberly Genna, Layla

Genna and Sebastian Genna (collectively the “Genna Defendants”), and The Law Office

of Siciliano, Mychalowych, Van Dusen and Feul P.C. (“the Law Firm Defendant”). For

the reasons stated in this Opinion, the Court grants Plaintiff’s Motion for Summary

Judgment against the Genna Defendants (Counts I and II of the Complaint) and grants

the Law Firm Defendant’s Motion for Summary Judgment against the Plaintiff (thereby

dismissing Count III of the Complaint). Count IV is granted in part and denied in part.




 09-05490-mbm      Doc 58        Filed 03/26/10   Entered 03/26/10 14:11:31   Page 1 of 18
                                         I. Facts

       On April 16, 2008, the Genna Defendants obtained a state court judgment

against debtor Beverley Jackson in the amount of $388,260. The Genna Defendants

were represented by the Law Firm Defendant. In an effort to collect on the judgment,

the Law Firm Defendant garnished several of Debtor’s accounts. As a result of the

garnishment, on July 1, 2008, CUNA Mutual Group turned over funds in the amount of

$166,298.57. A check was issued to the Genna Defendants and sent to the Law Firm

Defendant. The Law Firm Defendant deposited those funds into its client trust account.

Other garnishments resulted in an additional $2,260.81 paid over to the Genna

Defendants.

       In August, 2008, Debtor’s attorneys in the state court litigation and the Law Firm

Defendant engaged in electronic mail discussions regarding payment of the judgment

and the scheduling of a creditor’s exam. On August 25, 2008, one of Debtor’s attorneys

sent a letter via facsimile to an attorney at the Law Firm Defendant, indicating that his

client, debtor Beverly Jackson, was being represented by an attorney who specialized in

bankruptcy “for her impending bankruptcy.” The next day, August 26, 2008, Debtor’s

bankruptcy attorney, sent an email to an attorney at the Law Firm Defendant, indicating

that he had spoken to with his client regarding the filing of a chapter 7 bankruptcy. The

email makes it clear that, at that point, Debtor had not firmly decided to file a bankruptcy

petition. Two days later, on August 28, 2008, Debtor’s bankruptcy attorney informed an

attorney at the Law Firm Defendant by e-mail, that his client was “not interested in

settling the lawsuit and intends to [file] a Chapter 7 bankruptcy case.” Debtor’s

bankruptcy attorney further indicated that he would be meeting with his client “early next

                                              2



09-05490-mbm       Doc 58    Filed 03/26/10       Entered 03/26/10 14:11:31   Page 2 of 18
week to sign the pleading and will file thereafter.” In an e-mail from the Law Firm

Defendant to Debtor’s bankruptcy attorney dated August 27, 2008, the Law Firm

Defendant’s attorney acknowledged that the filing of a bankruptcy would render a

creditor’s exam moot, and indicated that the Law Firm Defendant was still interested in

resolving outstanding issues.

       On August 27, 2008, the state court issued an order approving distribution of

judgment proceeds, the Genna Defendants had received as a result of the

garnishments of Debtor’s accounts. The Law Firm was awarded “$73,647.97 from the

total of the judgment proceeds currently retained in the Siciliano Mychalowych

VanDusen and Feul, PLC (SMVF”) client trust account . . . in payment of SMVF’s costs

and fees to date.” Two days later, on August 29, 2008, the state court entered an order

approving distribution of the remaining judgment proceeds held by The Law Firm

Defendant ($109,911.53) to the state court plaintiffs (i.e. the Genna Defendants).

       As of September 1, 2008, Debtor had not yet filed for bankruptcy. On September

8, 2008, Mr. Van Dusen e-mailed Mr. Glusac stating that the Law Firm Defendant was

still interested in settling matters. Two days later, on September 10, 2008, Debtor filed

a voluntary chapter 7 bankruptcy petition.

       On July 21, 2009, the Trustee filed an Adversary Complaint against the Genna

Defendants. The Complaint, which was amended twice and is now brought against

both the Genna Defendants and the Law Firm Defendant, asserts four causes of action:

(1) avoidance of a preferential transfer to the Genna Defendants pursuant to 11 U.S.C.

§ 547(b); (2) recovery of the avoidable transfer to the Genna Defendants pursuant to 11

U.S.C. § 550(a); (3) recovery of avoided transfers against the Law Firm defendant

                                              3



09-05490-mbm       Doc 58    Filed 03/26/10       Entered 03/26/10 14:11:31   Page 3 of 18
pursuant to 11 U.S.C. § 550(a)(2); and (4) disallowance of all claims pursuant to 11

U.S.C. § 502(d) and (j). The Trustee filed the present Motion for Summary Judgment

on February 16, 2010. The Law Firm Defendant filed its Motion for Summary Judgment

on March 2, 2010.

       The Trustee asserts that he can recover the payment made to the Genna

Defendants because the payment was a preferential transfer under § 547(b) and the

Genna Defendants were initial transferees under § 550(a)(1). The Genna Defendants

did not file a response to the Trustee’s Motion.

       The Trustee asserts that he can recover payment made to the Law Firm

Defendant by the Genna Defendants because the initial payment was a preferential

transfer under § 547(b) and the Law Firm Defendant is an “intermediate transferee”

pursuant to § 550(a). The Law Firm Defendant’s Response asserts: (1) that the

Trustee fails to state a claim upon which relief can be granted, and (2) even if the

Trustee can show that the attorney fees the Law Firm Defendant received from the

Genna Defendants is a payment from funds which are now recoverable as a preferential

transfer, the Law Firm Defendant took the payment for value, in good faith and without

knowledge of the voidability of the transfer. The Law Firm Defendant argues that 11

U.S.C. § 550(b)(1) precludes recovery by the Trustee.

                                     II. Jurisdiction

       Bankruptcy courts have jurisdiction over all cases under Title 11 and all core

proceedings arising under Title 11 or in a case under Title 11. 28 U.S.C. §§ 1334 and

157. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(F).



                                              4



09-05490-mbm        Doc 58   Filed 03/26/10       Entered 03/26/10 14:11:31   Page 4 of 18
                               III. Standard for Dismissal

       The Law Firm Defendant’s brief requested both summary judgment under Fed.

R. Civ. P. 56 and dismissal under Fed. R. Civ. P. 12 (b)(6). Federal Rule of Civil

Procedure 12(b)(6), made applicable to adversary proceedings in bankruptcy through

Fed. R. Bankr. P. 7012(b) provides for dismissal of a complaint for “failure to state a

claim upon which relief can be granted.” A motion to dismiss pursuant to Rule 12(b)(6)

operates to test the sufficiency of the complaint. Having reviewed the Complaint and

the record, the Court finds that Plaintiff’s Complaint states a claim upon which relief can

be granted and that summary judgment is the appropriate form of relief.

                         IV. Standard for Summary Judgment

       Fed. R. Civ. P. 56(c) sets forth the standard for summary judgment. Fed. R. Civ.

P. 56 is incorporated into bankruptcy law by way of Fed. R. Bankr. P. 7056(c).

Summary judgment is only appropriate when there is no genuine issue as to any

material fact and the moving party is entitled to judgment as a matter of law. Fed. R.

Civ. P. 56(c). The central inquiry is "whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so one-sided that one party

must prevail as a matter of law." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52

(1986). After adequate time for discovery and upon motion, Rule 56(c) mandates

summary judgment against a party who fails to establish the existence of an element

essential to that party's case and on which that party bears the burden of proof at trial.

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

       The Court finds that there are no disputes about the material facts. The issues



                                              5



09-05490-mbm       Doc 58    Filed 03/26/10       Entered 03/26/10 14:11:31   Page 5 of 18
before the Court are: (1) whether the garnishment recovery received by the Genna

Defendants is a preferential payment under 11 U.S.C. § 547, and (2) whether the

payments by the Genna Defendants to the Law Firm Defendant (in payment of the Law

Firm’s legal fee) is an avoidable transfer under 11 U.S.C. § 550(a)(2).

                                        V. Analysis

A. Preferential Transfers under 11 U.S.C. § 547(b)

      The Trustee alleges that the payments made to the Genna Defendants, pursuant

to the garnishments from Debtor’s accounts in July and August, 2008, are preferential

transfers pursuant to 11 U.S.C. § 547(b). That section states:

      Except as provided in subsections (c) and (I) of this section, the trustee
      may avoid any transfer of an interest of the debtor in property –

      (1) to or for the benefit of a creditor;

      (2) for or on account of an antecedent debt owed by the debtor before such
      transfer was made;

      (3) made while the debtor was insolvent;

      (4) made –

             (A) on or within 90 days before the date of the filing of the petition; or

             (B) between ninety days and one year before the date of the filing of the
             petition, if such creditor at the time of such transfer was an insider; and

      (5) that enables such creditor to receive more than such creditor would receive
      if–

             (A) the case were a case under chapter 7 of this title;

             (B) the transfer had not been made; and

             (C) such creditor received payment of such debt to the extent provided by
             the provisions of this title.


                                                 6



09-05490-mbm       Doc 58     Filed 03/26/10         Entered 03/26/10 14:11:31   Page 6 of 18
In order to establish a preferential transfer, the Trustee must prove that each element of

§ 547(b) has been satisfied. Waldschmidt v. Ranier (In re Fulghum Constr. Corp.), 706

F.2d 171, 172 (6th Cir.), cert. denied sub nom., Ranier & Assoc. v. Waldschmidt, 464

U.S. 935 (1983). Once a preference is established, the burden shifts to the defendant

to assert statutory defenses to the preference action– defenses which may allow a

defendant to retain the preferential payment. (See 11 U.S.C. §§ 547(c)(1) - (c)(9)).

      In the present case, the Genna Defendants did not file a response to the

Trustee’s Motion for Summary Judgment. It is undisputed that the funds the Genna

Defendants received pursuant to the state court judgment constitute a preferential

transfer. The payments were received within 90 days of the filing of Debtor’s

bankruptcy petition, the payments were applied to antecedent debt, the Debtor is

presumed to be insolvent (11 U.S.C. § 547(f)) and, as general unsecured creditors, the

Genna Defendants received more from the garnishment than they would receive had

they not successfully garnished Debtor’s funds. Therefore Plaintiff’s Motion for

Summary Judgment is granted as to Counts I and II of the Complaint. Judgment is

awarded against the Genna Defendants in the amount of the preferential transfer of

$168,559.38.

B. Liability of a Transferee under 11 U.S.C. § 550

      It is undisputed that the Law Firm Defendant was paid their attorney fee out of

the garnishments proceeds the Genna Defendants obtained from Debtor. Having

established that the Genna Defendants are liable for a preferential transfer, the Trustee

argues that the Law Firm Defendant is liable to the estate for the fees they received as

an immediate transferee of the funds received by the Genna Defendants.

                                              7



09-05490-mbm       Doc 58    Filed 03/26/10       Entered 03/26/10 14:11:31   Page 7 of 18
       11 U.S.C. § 550 determines from whom a trustee may recover property when a

transfer has been avoided. It states in relevant part:

       (a) Except as otherwise provided in this section, to the extent that a
       transfer is avoided under section 544, 545, 547, 548, 549, 553(b), or
       724(a) of this title, the trustee may recover, for the benefit of the estate,
       the property transferred, or, if the court so orders, the value of such
       property, from--

              (1) the initial transferee of such transfer or the entity for
              whose benefit such transfer was made; or

              (2) any immediate or mediate transferee of such initial
              transferee.

       (b) The trustee may not recover under section (a)(2) of this section from–
              (1) a transferee that takes for value, including satisfaction or
              securing of a present or antecedent debt, in good faith, and
              without knowledge of the voidability of the transfer avoided;
              or

              (2) any immediate or mediate good faith transferee of such
              transferee.

11 U.S.C. § 550(a) and (b). Section 550(a) allows a trustee to recover property from the

initial transferee, or any “immediate” or “mediate” transferee of the initial transferee.

Section 550 (b) prevents the trustee from recovering an avoided transfer from a

immediate transferee who takes for value, in good faith and without knowledge of the

voidability of the transfer avoided.1 In the present case, the Genna Defendants were

immediate transferees of the funds garnished from Debtor. The Law Firm Defendant



       1
       As explained by the Sixth Circuit Court of Appeals, “[a]n initial transferee is one
who receives money from a person or entity later in bankruptcy, and has dominion over
the funds. A mediate or immediate transferee is simply one who takes in a later transfer
down the chain of title or possession.” First Nat’l Bank of Barnesville v. Rafoth (In re
Baker & Getty Fin. Servs., Inc.), 974 F.2d 712, 722 (6th Cir. 1992).


                                               8



09-05490-mbm        Doc 58    Filed 03/26/10       Entered 03/26/10 14:11:31    Page 8 of 18
asserts that it is an immediate transferee protected under § 550(b) because it received

its attorney fee for services performed, in good faith, and without knowledge of the

avoidability of the transfer avoided.

       With respect to the first element of § 550(b)(1), that is receiving the payment for

value, the state court order regarding payment of fees to the Law Firm Defendant

makes it clear that the payment made to the Law Firm Defendant was made in

exchange for legal services rendered to the Genna Defendants in the state court case

against Debtor. Thus, there is no dispute regarding the value element of § 550(b)(1).

       The second element of a defense under § 550(b)(1), that is “good faith”, is not

defined in the bankruptcy code, nor has the term been clearly defined by the Sixth

Circuit Court of Appeals. The Sixth Circuit has stated in an unpublished opinion:

       Courts and commentators have struggled to define the term “good faith”
       as used in § 550(b). Some have concluded that the term is synonymous
       with ‘without knowledge of the voidability,’ so that the Code's use of both
       creates a redundancy. See Bonded Fin. Servs., Inc. v. European Am.
       Bank, 838 F.2d 890, 897 (7th Cir.1988). First Independence points to IRS
       v. Nordic Village, Inc. (In re Nordic Village), 915 F.2d 1049, 1056 (6th
       Cir.1990), rev'd on other grounds, 503 U.S. 30, 112 S.Ct. 1011, 117
       L.Ed.2d 181 (1992), which indicated that “good faith” involved a lack of
       “actual notice” of voidability. Id.

First Independence Capital Corp. v. Merrill Lynch Bus. Fin. Services, Inc. (In re First

Independence Capital Corp.), 2006 WL 1342789 (6th Cir. 2006). The court in SKK

Liquidation Trust v. Green & Green, LPA (In re Spinnaker Industries, Inc.), 328 B.R. 755

(S.D. Ohio 2005), quoting the court in Bonded Financial Services, Inc. v. European

American Bank, 838 F.2d 890 (7th Cir. 1988) stated that “[a] court may infer the lack of

good faith if ‘the recipient of a voidable transfer. . . possessed enough knowledge of

events to induce a reasonable person to investigate [ ]’ the potential voidability issue.”

                                               9



09-05490-mbm       Doc 58     Filed 03/26/10       Entered 03/26/10 14:11:31   Page 9 of 18
In re Spinnaker, 328 B.R. at 769. More generally, as noted in Collier on Bankruptcy,

       The Code does not define ‘good faith,’ but courts have long defined this
       term under prior law. As one court, quoting a classic treatise, defined it:
       ‘The question is solely whether the grantee knew or should have known
       that he was not trading normally but that on the contrary, the purpose of
       the trade, so far as the debtor was concerned, was the defrauding of his
       creditors.

5 Collier on Bankruptcy, ¶ 550.03[2] at 550-23 (Alan N. Resnick, et. al. , eds. 15th

ed.)(citation omitted).

       The Bankruptcy Code and its legislative history are also silent as to the definition

of the third element of a defense under § 550(b), that is taking a transfer “without

knowledge of the voidability of the transfer avoided.” According to Collier on

Bankruptcy,

       The language appears to be derived from section 4-609(b)(1) of the
       Commission’s bill [The Commission on the Bankruptcy Laws of the United
       States, which filed a draft statute with Congress in 1973], and was
       included as surplusage to illustrate a transferee that could not be in good
       faith. The Commission intended the standard to mean ‘if the transferee
       knew facts that would lead a reasonable person to believe that the
       property [transferred] was recoverable.’

5 Collier on Bankruptcy, ¶ 550.03[3] at 550-24. Consistent with this language, the Sixth

Circuit Court of Appeals, in Internal Revenue Service v. Nordic Village, Inc. (In re Nordic

Village, Inc.), 915 F.2d 1049 (6th Cir. 1990), rev’d on other grounds, 503 U.S. 30 (1992)

stated that “[t]he requirement of ‘knowledge is satisfied if the transferee ‘knew of facts

that would lead a reasonable person to believe that the property transferred was

recoverable.’” Id., 915 F.2d at 1055 (citation omitted).

       Taken together, the cases addressing “good faith” and “knowledge” under

§ 550(b)(1) of the Bankruptcy Code make it clear that there is no straightforward


                                              10



09-05490-mbm       Doc 58    Filed 03/26/10    Entered 03/26/10 14:11:31     Page 10 of 18
definition of “good faith” or “knowledge of voidability”, and that the two concepts

overlap.

       The Trustee does not argue that the receipt of its attorney fee by the Law Firm

Defendant from the Genna Defendants was not a good faith transfer. Rather, the

Trustee focuses solely on the requirement that an immediate transferee take the

transfer “without knowledge of the voidability of the transfer avoided.” The Trustee

argues that knowledge by the immediate transferee of a possible bankruptcy is

sufficient to establish that the immediate transferee had knowledge of the avoidability of

the transfer. The Trustee cites to a few cases where the courts suggest that knowledge

of a potential bankruptcy filing is sufficient knowledge to require an immediate

transferee to return funds to the estate under 11 U.S.C. § 550(b)(1). See Grove

Peacock Plaza, Ltd, v. Resolution Trust Corporation (In re Grove Peacock Plaza, Ltd.),

142 B.R. 506 (Bankr. S.D. Fla. 1992); SKK Liquidation Trust v. Green & Green, LPA (In

re Spinnaker Industries, Inc.), 328 B.R. 755 ( Bankr. S.D. Ohio 2005) and Lifecare

Technologies, Inc. v. Berman Law Firm, P.A. (In re Lifecare Technologies, Inc.), 305

B.R. 88 (Bankr. M.D. Fla. 2003).

       This Court finds these cases problematic as support for the proposition that an

immediate transferee is liable to the bankruptcy estate merely because he or she had

knowledge of a potential bankruptcy. None of these cases actually reach that

conclusion with regard to the specific immediate transferee in the case. In Grove

Peacock Plaza, Ltd, v. Resolution Trust Corporation (In re Grove Peacock Plaza, Ltd.),

142 B.R. 506 (Bankr. S.D. Fla. 1992), the issue was whether the defendant Resolution

Trust Corp. was an initial transferee or an immediate transferee under 11 U.S.C.

                                             11



09-05490-mbm      Doc 58    Filed 03/26/10    Entered 03/26/10 14:11:31     Page 11 of 18
§ 550(a). The court determined that defendant Resolution Trust Corp. was an initial

transferee under 11 U.S.C. § 550(a)(1). To the extent that the court made any

statements about immediate transferees, those statements were dicta and cannot be

used to analyze how the Court would have ruled had there actually been any immediate

transferee involved in the case.

       In SKK Liquidation Trust v. Green & Green, LPA (n re Spinnaker Industries, Inc.),

328 B.R. 755 (Bankr. S.D. Ohio 2005) debtor’s successor brought a preference action

to recover funds paid to a judgment creditor and to the judgment creditor’s attorney as

an attorney fee. The court found that the judgment creditor was the initial transferee

and funds paid to the creditor were recoverable as a preferential payment. The court

also held that the law firm defendant was an immediate transferee of the judgment

creditor with regard to its attorney fees. The court then went on to discuss the “good

faith” and “without knowledge” requirements of 11 U.S.C. § 550(b)(1) and concluded

that it could not, on the record before it, determine whether the law firm could be held

liable as an immediate transferee under 11 U.S.C. § 550(b)(1). The court remanded the

issue for a determination as to whether the law firm could be held liable under 11 U.S.C.

§ 550(b)(1). The court did not address what knowledge the court would have required

the immediate transferee to possess to lose its protection under 11 U.S.C.

§ 550(b)(1).

       In Lifecare Technologies, Inc. v. Berman Law Firm, P.A. (In re Lifecare

Technologies, Inc.), 305 B.R. 88 (Bankr. M.D. Fla. 2003), the Chapter 11 debtor sought

recovery of prepetition settlement payments the debtor made to a creditor and the

payments the creditor had paid to its law firm for an attorney fee. The court held that

                                             12



09-05490-mbm      Doc 58    Filed 03/26/10    Entered 03/26/10 14:11:31     Page 12 of 18
the law firm defendant was an immediate transferee under 11 U.S.C. § 550(a)(1).

However, the law firm defendants had filed an affidavit stating that they had no

knowledge of a possible bankruptcy when it accepted a payment from the Chapter 11

debtor’s creditor. The court was satisfied that the affidavit established that the law firm

took funds from the initial transferee “without knowledge”. The court did not opine on

whether knowledge of the bankruptcy would have been sufficient in of itself to constitute

knowledge for purposes of avoiding the transfer to the immediate transferee.

       Given the lack of clarity on what the term “without knowledge of the voidability of

the transfer avoided” means, this Court holds that on the facts of this case, knowledge

of the potential bankruptcy is insufficient to defeat the Law Firm Defendant’s defense

under 11 U.S.C. § 550(b)(1). Neither the language of the statute itself nor the legislative

history requires a different result. The statute says:

              The trustee may not recover under section (a)(2) of this
              section from a transferee that takes for value, including
              satisfaction or securing of a present or antecedent debt in
              good faith, and without knowledge of the voidability of the
              transfer avoided.

The statute does not say an immediate transferee is liable if they have knowledge of a

bankruptcy. It says they are liable if they have knowledge of the voidability of the

transfer. Congress, in drafting the statute, could easily have substituted the word

“bankruptcy” for the phrase “voidability of the transfer avoided” had it intended mere

knowledge of a potential bankruptcy filing to defeat an immediate transferee’s defense.

This Court refuses to infer that simply because the Law Firm Defendant was aware that

a bankruptcy might be filed, it understood the nature of the potential avoidance action a

potential trustee could have against the Genna Defendants. Even assuming the Law

                                              13



09-05490-mbm      Doc 58     Filed 03/26/10    Entered 03/26/10 14:11:31     Page 13 of 18
Firm Defendant understood the implications of a potential bankruptcy, that

understanding is not sufficient knowledge to hold the Law Firm Defendant liable to the

Trustee under § 550(b)(1). The case law and the legislative history strongly suggest

that the Trustee’s ability to recover from an immediate transferee, that is a creditor of a

creditor, who is paid in good faith, is intended to be very limited. For an immediate

transferee to be found to have “knowledge of the voidability of the transfer avoided”, the

degree of knowledge has to be something more than mere knowledge of a potential

bankruptcy.

       The legislative history and the case law set out two scenarios where an

immediate transferee might be held liable to the bankruptcy estate. The first of these

scenarios is explained by Congress in the legislative history of 11 U.S.C. § 550(b)(1):

              The phrase “good faith” in [§ 550(b)] is intended to prevent a
              transferee from whom the trustee could recover from
              transferring the recoverable property to an innocent
              transferee, and receive a transfer from him, that is,
              “washing” the transaction through an innocent third party. In
              order for the transferee to be excepted from liability ... he
              himself my be a good faith transferee.

See Bonded Financial Services, Inc. v. European American Bank, 838, F.2d 890, 897

(7th Cir.)(quoting H.R.Rep No. 95-595, 95th Cong., 2d Sess. 376 (1978); S.Rep. No. 95-

989, 95th Cong., 2d Sess. 90(1978), 1978 U.S.C.C.A.N. 5787, 5876, 6332). See also

Eder v. Queen City Grain, Inc. (In re Queen City Grain, Inc.), 51 B.R. 722, 727 (Bankr.

S. D. Ohio 1985)(“for purposes of § 550(b)(1), the legislative intent was limited to

closing the door on attempts to immunize a questionable transaction through the

involvement of a third party).

       Thus the first scenario where a trustee may recover from an immediate

                                              14



09-05490-mbm       Doc 58    Filed 03/26/10    Entered 03/26/10 14:11:31     Page 14 of 18
transferee is when the initial transferee knows that it has received a potentially

avoidable transfer and gives the property it received to a third party to protect or hide

the property from recovery by the trustee. The second scenario where courts and the

legislative history find that the immediate transferee is liable to the estate is when the

transfer between the debtor and the initial transferee is tainted by fraud and the

subsequent transferee could have discovered the fraud through reasonable

investigation. As the court stated in Brown v. Third National Bank (In re Sherman), 67

F.3d 1348 (8th Cir. 1995):

       We believe that a transferee has knowledge if he “knew facts that would
       lead a reasonable person to believe that the property transferred was
       recoverable.” (Citations omitted.) In this vein, some facts suggest the
       underlying presence of other facts. If a transferee possess knowledge of
       facts that suggest [the initial] transfer may be fraudulent, and further
       inquiry by the transferee would reveal facts sufficient to alert him that the
       property is recoverable, he cannot sit on his heels, thereby preventing a
       finding that he has knowledge. In such a situation, the transferee is held
       to have knowledge of the voidability of the transfer. In re Agricultural
       Research & Technology Group, 916 F.2d at 536; Bonded Fin. Servs., 838
       F.2d at 898; In re Goodwin, 115 B.R. 674, 677 (Bankr. C.D.Cal. 1990).

Thus, as a general rule, an immediate transferee may not avail itself of the defense

under 11 U.S.C. § 550(b)(1) if the initial transferee is giving funds to the immediate

transferee to hide or shield those funds from recovery, or if the transferee, through

reasonable discovery, could determine that the initial transfer was tainted by fraud.

       Neither of those circumstances exist in the instant case. The Genna Defendants

did not transfer the garnishment proceeds to the Law Firm Defendant to attempt to

shield the money from recovery by other creditors of the debtor or by a subsequent

Chapter 7 trustee; the Genna Defendants paid over the funds pursuant to a court order.

Presumably had the Genna Defendants not paid the attorney fee on the money

                                              15



09-05490-mbm       Doc 58    Filed 03/26/10    Entered 03/26/10 14:11:31      Page 15 of 18
recovered by the Genna Defendants, the Law Firm Defendant could have sought

enforcement of the order granting them their fees in state court. There is also no

allegation by the Trustee that the Debtor paid the Genna Defendants either because the

Debtor preferred the Genna Defendants to its other creditors, or was paying the Genna

Defendants in order to hide Debtor’s assets from Debtor’s other creditors. The Genna

Defendants are a judgment creditor of the Debtor and as a judgment creditor, they

garnished funds belonging to the Debtor. The e-mail exchange between the Law Firm

Defendant and Debtor’s bankruptcy attorney clearly indicates that the reason Debtor

was thinking of filing bankruptcy was to prevent further attempts at collection by Genna

Defendants. This is not a case where Debtor was contemplating bankruptcy and

transferred assets to keep those assets out of the bankruptcy estate. The Genna

Defendants are not the beneficiaries of a fraudulent transfer; they are the blameless

recipients of a preferential transfer. When the Law Firm Defendant was paid its fee

pursuant to the state court order, it was not participating in the kind of activity which

defeats its defense as an immediate transferee.

       Based on the legislative history of 11 U.S.C. § 550 and the case law, the Court

concludes that on these facts, knowledge of a possible bankruptcy does not defeat the

Law Firm Defendant’s defense under 11 U.S.C. § 550(b)(1). The Court finds that the

Law Firm Defendant is an immediate transferee under 11 U.S.C. § 550(a)(2). However,

as a transferee that received its attorney fee for value, in good faith, and without

knowledge of the voidability of the transfer avoided, the Trustee may not avoid the

payment by the Genna Defendants of the attorney fee to the Law Firm Defendant.

Therefore, the Law Firm Defendant is granted summary judgment as to Count III of the

                                              16



09-05490-mbm       Doc 58    Filed 03/26/10    Entered 03/26/10 14:11:31      Page 16 of 18
Complaint and Count III of the Complaint is dismissed.

C. 11 U.S.C. § 502

      Count IV of the Trustee’s Complaint requests that the Court disallow any claim of

an entity from which property is recoverable under 11 U.S.C. § 550. The Court has

granted judgment against the Genna Defendants and that judgment is recoverable

under 11 U.S.C. § 550. Until the Genna Defendants satisfy the judgment, any claim the

Genna Defendants have against the estate is disallowed. The Trustee’s request for

relief under 11 U.S.C. § 502(d) as to the Genna Defendants is granted. With regard to

the Law Firm Defendant, the Court has held that the Law Firm Defendant has no liability

to the estate. Therefore, the Trustee’s request for relief against the Law Firm Defendant

is denied. However, the Court notes that any additional recovery of attorney fees by the

Law Firm Defendant is not a claim against the estate. Any additional attorney fees must

be recovered from any additional recovery by the Genna Defendants on their judgment

against Debtor.



                                    VI. Conclusion

      For the reasons set forth above, Plaintiff’s Motion for Summary Judgment is

granted on Counts I and II of the Complaint. Plaintiff is awarded judgment against the

Genna Defendants in the amount of $168,559.38. Defendant Law Firm’s Motion for

Summary Judgment is granted on Count III of the Complaint. Count III is, therefore,

dismissed. Count IV of the Complaint is granted in part and denied in part.




                                             17



09-05490-mbm      Doc 58    Filed 03/26/10    Entered 03/26/10 14:11:31   Page 17 of 18
                                         .



Signed on March 26, 2010
                                                  /s/ Marci B. McIvor
                                               Marci B. McIvor
                                               United States Bankruptcy Judge




                                         18



09-05490-mbm   Doc 58   Filed 03/26/10       Entered 03/26/10 14:11:31   Page 18 of 18
